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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK



 SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,

                            v.

 MANGO LABS, LLC; BLOCKWORKS
 FOUNDATION; MANGO DAO,

                                      Defendants.



                 FINAL JUDGMENT AS TO DEFENDANT MANGO DAO

       The Securities and Exchange Commission having filed a Complaint and Defendant

Mango DAO (“Defendant”) having entered a general appearance; consented to the Court’s

jurisdiction over Defendant and the subject matter of this action; consented to the entry of this

Final Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal

from this Final Judgment:

                                              I.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Sections 5(a) and (c) of the Securities Act

of 1933 (“Securities Act”) [15 U.S.C. § 77e(a) and 77e(c)] by, directly or indirectly, in the

absence of any applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce



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               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise; or

       (c)     Making use of any means or instruments of transportation or communication in

               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                              II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall pay a

civil penalty in the amount of $223,228 to the Securities and Exchange Commission pursuant to

Section 20(d) of the Securities Act [15 U.S.C. §77t(d)]. Defendant shall make this payment

within 30 days after entry of this Final Judgment.

       Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank



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cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Mango DAO as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury.

       The Commission may enforce the Court’s judgment for penalties by the use of all

collection procedures authorized by law, including the Federal Debt Collection Procedures Act,

28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court orders

issued in this action. Defendant shall pay post-judgment interest on any amounts due after 30

days of the entry of this Final Judgment pursuant to 28 USC § 1961.

                                              III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein, including, but not

limited to, the undertakings to:




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     (a)   Immediately cease all offers, sales, or resales of MNGO tokens on the

           crypto asset trading platform known as Mango Markets through the

           means or instrumentalities of interstate commerce as defined by Section

           2(a)(7) of the Securities Act;

     (b)   Destroy or otherwise make unavailable for trading, selling, offering, or

           purchasing any and all MNGO tokens currently in Defendant’s possession

           or control within 10 days of the entry of the Final Judgment. Should

           Defendant acquire any MNGO tokens in the future, it shall destroy or

           otherwise make those MNGO tokens unavailable for trading, selling,

           offering or purchasing within 10 days of receipt. Nothing in this

           provision shall prevent Defendant from conducting a partial or total

           dissolution or liquidation of its non-MNGO assets in the DAO Treasury

           through the acquisition of MNGO tokens from DAO members;

     (c)   Issue written requests to remove MNGO tokens from any further trading

           on all crypto asset exchanges and trading platforms where Defendant is

           aware MNGO is trading within 30 days of the entry of the Final

           Judgment;

     (d)   Refrain, directly or indirectly, from soliciting any trading platform to

           allow trading in MNGO and from offering or selling, directly or

           indirectly, MNGO, unless such offering is properly registered under

           applicable laws, including, but not limited to, the Securities Act, or unless

           otherwise being in compliance with federal securities laws; and




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               (e)     Certify, in writing, compliance with the undertakings set forth above. The

                       certification shall identify the undertaking(s), provide written evidence of

                       compliance in the form of a narrative, and be supported by exhibits

                       sufficient to demonstrate compliance. The Commission staff may make

                       reasonable requests for further evidence of compliance, and Defendant

                       agrees to provide such evidence. Defendant shall submit the certification

                       and supporting material to Assistant Regional Director Amy Flaherty

                       Hartman with a copy to the Office of Chief Counsel of the Enforcement

                       Division, no later than 30 days from the date of the completion of the

                       undertakings.

                                              IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



        October 1
Dated: ______________,  2024
                       _____

                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE




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